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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 DANIEL GOLDENBERG, Individually and
 on Behalf of All Others Similarly Situated,
                                                    Case No. 1:22-cv-10314

                        Plaintiff,                  CLASS ACTION

               v.                                   COMPLAINT FOR VIOLATIONS OF
                                                    THE FEDERAL SECURITIES LAWS
 NEOGENOMICS, INC., DOUGLAS
 VANOORT, MARK MALLON, KATHRYN
 MCKENZIE, and WILLIAM BONELLO,


                        Defendants.


       Plaintiff Daniel Goldenberg (“Goldenberg” or “Plaintiff”), by and through his counsel,

alleges the following upon personal knowledge as to his own acts, and upon information and belief

as to all other matters. Plaintiff’s information and belief is based on, among other things, the

independent investigation of counsel. This investigation includes, but is not limited to, a review

and analysis of: (i) public filings by NeoGenomics, Inc. (“NeoGenomics” or the “Company”) with

the Securities and Exchange Commission (“SEC”); (ii) transcripts of NeoGenomics conferences

with investors and analysts; (iii) press releases and media reports concerning the Company; (iv)

analyst reports concerning NeoGenomics; and (v) other public information and data regarding the

Company.

                        NATURE OF THE ACTION AND OVERVIEW

       1.       This is a securities class action on behalf of all persons and entities that purchased

or otherwise acquired NeoGenomics securities between February 27, 2020 and April 26, 2022,

inclusive (the “Class Period”).
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       2.       The claims Plaintiff asserts herein are alleged against: (i) NeoGenomics; (ii) the

Company’s former Chief Executive Officer (“CEO”) Douglas VanOort (“VanOort”); (iii) its

former CEO Mark Mallon (“Mallon”); (iv) its former Chief Financial Officer (“CFO”) Kathryn

McKenzie (“McKenzie”); and (v) its current CFO William Bonello (“Bonello”), and arise under

Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and SEC

Rule 10b-5 promulgated thereunder.

       3.       NeoGenomics provides cancer tests and testing services to doctors, clinics,

hospitals, and pharmaceutical companies. Among the Company’s portfolio of tests are next

generation sequencing (“NGS”) tests. NGS tests have become popular with pathologists in recent

years because they can test multiple genes of a cancer simultaneously, making them more cost

effective and efficient than older legacy tests that only look for a single specific genetic mutation.

       4.       Throughout the Class Period, NeoGenomics consistently misrepresented to

investors that it had a “comprehensive menu” of cancer tests that positioned it as a “one-stop-shop”

for pathologists that needed cancer testing. Moreover, the Company stated that it had “every kind

of testing modality that you can use for cancer, including some of the fast-growing new ones, like

next-generation sequencing,” and had “a competitive advantage” as a “go-to reference lab with a

comprehensive menu for just about any kind of tests that you want to have done in cancer [] and

we keep our test menu very advanced.”

       5.       NeoGenomics also consistently asserted during the Class Period that it could

“leverage” the supposedly “fixed cost” structure of its business to improve profitability as revenue

increased. NeoGenomics also repeatedly touted its “robust Compliance Program . . . overseen by

our Board of Directors . . . to ensure compliance with the myriad of . . . laws, regulations and




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governmental guidance applicable to our business,” merely listing failure to comply among the

many hypothetical risks that could impact the Company’s results.

         6.       These statements were materially false and misleading. In truth: (i) NeoGenomics

was anything but a “one-stop-shop” for cancer testing because it did not offer the most

technologically advanced NGS tests, which led to a significant decrease in revenue as current and

prospective customers went elsewhere for their testing needs; (ii) the Company’s costs were not

fixed because NeoGenomics needed to hire additional employees to process more complex

customized testing demanded by customers utilizing the Company’s outdated portfolio of tests,

leading to operational challenges, decreased lab efficiency, and increased testing turnaround times;

and (iii) NeoGenomics violated federal healthcare laws and regulations related to fraud, waste, and

abuse.

         7.       On November 4, 2021, NeoGenomics revealed that it was, “conducting an internal

investigation with the assistance of outside counsel that focuses on the compliance of certain

consulting and service agreements with federal healthcare laws and regulations” and had recently

“notified the Office of the Inspector General of the U.S. Department of Health and Human Services

of our investigation.” Additionally, the Company disclosed that it “accrued a reserve of $10.5

million for potential damage and liabilities associated with the federal healthcare program revenue

received spanning multiple years.” On this news, the price of NeoGenomics common stock fell

$8.18 per share, or 17.6%, from $46.53 per share on November 3, 2021 to $38.35 per share at the

close of trading on November 4, 2021.

         8.       After the close of trading on November 4, 2021, NeoGenomics provided some

limited additional details about the internal investigation, specifically that the “federal healthcare




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laws and regulations” at the center of the Company’s investigation “include those relating to fraud,

waste and abuse.”

       9.       On March 28, 2022, NeoGenomics disclosed that “the Board of Directors and Mark

Mallon, Chief Executive Officer, have agreed that Mr. Mallon will step down as CEO and member

of the Board, effective immediately.” At the same time, the Company disclosed that it “currently

expects revenue for Q1 2022 may be below the low end of its prior guidance of $118 - $120 million

and EBITDA for Q1 2022 will be below the low end of its prior guidance of $(15) - $(12) million.

The larger than anticipated EBITDA loss was primarily driven by higher than anticipated Clinical

Services cost of goods sold.      The Company intends to take immediate action to address

performance and costs . . . Additionally, the Company has withdrawn its 2022 annual financial

guidance issued February 23, 2022.” On this news, the price of NeoGenomics common stock fell

$5.30 per share, or 29.8%, from $17.79 per share on March 28, 2022 to $12.49 per share at the

close of trading on March 29, 2022.

       10.      Then, on April 27, 2022, NeoGenomics reported its first-quarter 2022 financial

results including that revenue for the quarter was $117 million and EBITDA loss was $19 million,

that “[c]onsolidated gross profit for the first quarter of 2022” had “decrease[d] 8.0% compared to

the first quarter of 2021,” and that “[o]perating expenses increased by $34 million, or 59%,

compared to the first quarter of 2021.” The Company explained that “higher payroll and payroll-

related costs to support the Company’s strategic growth initiatives” drove the decreased profit and

increased operating expenses.

       11.      Also on April 27, 2022, NeoGenomics held a conference call to discuss its first-

quarter 2022 results (the “1Q22 Earnings Call”). During the 1Q22 Earnings Call, the Company

attributed its poor performance in substantial part to the fact that, “our test mix is weighted to




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legacy modalities and disease-specific NGS offerings, while the market is moving towards larger,

more comprehensive panels” and “we’ve seen a notable decrease in lab efficiency over the course

of the past year . . . largely attributable to increased complexity of both our product offerings and

our lab processes, due in part to efforts to respond to customer requests for customization.”

NeoGenomics further disclosed that it was “seeing increased competition on the NGS front as

panels move or as customers move to demanding larger, more comprehensive NGS-only panels,

and our offering is more oriented towards smaller targeted panels” and that the Company was

“seeing bigger and bigger panels coming from some of these emerging companies . . . where we

have not kept up.” On this news, the price of NeoGenomics common stock fell $0.41 per share,

or 3.8%, from $10.85 per share on April 26, 2022 to $10.44 per share at the close of trading on

April 27, 2022.

                                    JURISDICTION AND VENUE

        12.         The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC

(17 C.F.R. § 240.10b-5).

        13.         This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

        14.         Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391(b) because the acts and transactions giving rise to the violations of law complained

of occurred in part in this District, including the dissemination of false and misleading statements

into this District. NeoGenomics’s common stock trades on the NASDAQ, which is headquartered

in this District.




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        15.    In connection with the acts alleged in this complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.

                                            PARTIES

        16.    As detailed in the Certification submitted herewith, Plaintiff Daniel Goldenberg

purchased NeoGenomics securities at artificially inflated prices during the Class Period and

suffered damages as a result of the violations of the securities laws alleged herein.

        17.    Defendant NeoGenomics is a Nevada corporation, with its principal executive

offices located at 9490 NeoGenomics Way, Fort Myers, FL 33912. The Company’s common

stock trades in an efficient market on the NASDAQ under the ticker symbol “NEO.”

        18.    Defendant VanOort served as the Company’s CEO throughout the Class Period

until April 19, 2021, at which time he transitioned to become the Executive Chair of the Board of

Directors of NeoGenomics. On October 12, 2021, the Company announced that Defendant

VanOort would be stepping down as Executive Chair and would retire as a member of the Board

before the end of the year.

        19.    Defendant Mallon served as the Company’s CEO from April 19, 2021 to March 28,

2022.

        20.    Defendant McKenzie served as the Company’s CFO throughout the Class Period

until December 31, 2021. NeoGenomics named Defendant McKenzie Chief Sustainability and

Risk Officer as of January 1, 2022.




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       21.     Defendant Bonello is the Company’s current CFO and has served in that capacity

since January 1, 2022. Previously during the Class Period, Defendant Bonello served as President

of NeoGenomics’s Informatics Division.

       22.     VanOort, Mallon, McKenzie, and Bonello are collectively referred to herein as the

“Individual Defendants.”       The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of the Company’s reports to

the SEC, press releases, and presentations to securities analysts, money and portfolio managers,

and institutional investors.

       23.     The Individual Defendants were provided with copies of the Company’s

presentations and SEC filings alleged herein to be misleading prior to, or shortly after, their

issuance and had the ability and opportunity to prevent their issuance or cause them to be corrected.

       24.     Because of their positions and access to material non-public information available

to them, the Individual Defendants knew that the adverse facts and omissions specified herein had

not been disclosed to, and were being concealed from, the public, and that the positive

representations and omissions which were being made were then materially false and/or

misleading.

                                SUBSTANTIVE ALLEGATIONS

                                           Background

       25.     NeoGenomics operates a network of cancer testing laboratories in the United

States, Europe, and Asia. The Company operates two business segments. Its Clinical Services

Segment provides testing, interpretation, and consultative services to community-based pathology

practices, hospital pathology labs, reference labs, and academic centers. NeoGenomics’s Pharma

Services Segment supports pharmaceutical firms in their drug development programs by




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supporting their clinical trials and research through working with the pharmaceutical firms on

study design as well as performing required testing. In 2021, the Clinical Services Segment

accounted for 83% of NeoGenomics’s revenue, while the Pharma Services Segment accounted for

17% of the Company’s revenue.

       26.     NeoGenomics offers a variety of cancer tests, including tests utilizing NGS

technology. NGS allows clinicians to test multiple genes of a cancer simultaneously on material

extracted from a single biopsy or sample of a patient’s blood. NGS tests have grown in popularity

in recent years among pathologists because they are typically more cost effective and efficient than

legacy tests, which are typically focused on looking for one single genetic mutation and, often

require pathologists to order several individual tests to look for multiple genetic mutations.

        Materially False and Misleading Statements Issued During the Class Period

       27.     The Class Period begins on February 27, 2020, the date NeoGenomics announced

its fourth-quarter and full-year 2019 financial results and held a conference call to discuss the

results (the “4Q19 Earnings Call”). During the 4Q19 Earnings Call, Defendant VanOort stated,

“we have really restructured in some respects our NGS panels, and we think they are very, very-

high-quality panels. We continue to make improvements in them in terms of the number of genes

and in our reporting capabilities, and the marketplace is reacting very favorably to that. So our

next-generation sequencing panels in the clinical business should continue to fuel growth.”

       28.     On February 28, 2020, NeoGenomics filed its annual report for 2019 on Form 10-

K with the SEC (the “2019 10-K”). The 2019 10-K contained the following statement touting the

Company’s testing capabilities:

       NGS panels are one of our fastest growing testing areas and clients can often
       receive a significant amount of biomarker information from very limited samples.
       These comprehensive panels can allow for faster treatment decisions for patients as
       compared to a series of single-gene molecular tests being ordered sequentially.



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          NeoGenomics has one of the broadest Molecular menus in the industry and our
          targeted NeoTYPE panels include genes relevant to a particular cancer type, as well
          as other complementary tests such as immunohistochemistry and FISH. This
          comprehensive menu means that NeoGenomics can be a one-stop-shop for our
          clients who can get all of their oncology testing needs satisfied by our laboratory.
          This is attractive to our clients as patient samples do not need to be split and then
          managed across several laboratories. NeoGenomics expects our Molecular
          laboratory and NGS capabilities to be a key growth driver in the coming years.

          29.    In the 2019 10-K, NeoGenomics also stated: “Our broad and innovative test menu

of molecular, including NGS, immunohistochemistry, and other testing has helped make us a ‘one

stop shop’ for many clients who value that all of their testing can be sent to one laboratory.”

          30.    In the 2019 10-K, NeoGenomics further represented that its “Competitive

Strengths” included testing “Turnaround Times” and “Innovative Service Offerings.” Regarding

turnaround times, NeoGenomics stated: “Our consistent timeliness of results by our Clinical

Services segment is a competitive strength and a driver of additional testing requests by referring

physicians. Rapid turnaround times allow for the performance of other adjunctive tests within an

acceptable diagnosis window in order to augment or confirm results and more fully inform

treatment options.” Regarding its service offerings, the Company stated: “Our [testing] menu

enables us to be a true one-stop-shop for our clients as we can meet all of their oncology testing

needs.”

          31.    Additionally, in the 2019 10-K NeoGenomics touted its efforts to comply with

relevant government regulations and merely listed failure to comply with such regulations as a

risk, without discussing the ongoing violations, stating:

          The health care industry is highly regulated and scrutinized with respect to fraud,
          abusive billing practices and improper financial relationships between health care
          companies and their referral sources. The Office of the Inspector General of HHS
          (“OIG”) has published compliance program guidance, including the Compliance
          Program Guidance for Clinical Laboratories in August of 1998, and advisory
          opinions. The Company has implemented a robust Compliance Program, which is
          overseen by our Board of Directors. Its objective is to ensure compliance with the
          myriad of international, federal and state laws, regulations and governmental


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       guidance applicable to our business. Our program consists of the development and
       implementation of standards of conduct, training/education of employees,
       monitoring and auditing Company practices, investigation, and response to
       reported or detected compliance issues.
       ...
       Our operations are subject to strict laws prohibiting fraudulent billing and other
       abuse, and our failure to comply with such laws could result in substantial penalties.

       Of particular importance to our operations is ensuring compliance with federal and
       state laws prohibiting fraudulent billing and the retention of overpayments. In
       particular, if we fail to comply with federal and state documentation, coding and
       billing rules, we could be subject to liability under the federal False Claims Act,
       including civil penalties, loss of licenses and exclusion from the Medicare and
       Medicaid programs.
       ...
       Existing federal laws governing Medicare and Medicaid, as well as some other
       federal laws, also regulate certain aspects of the relationship between healthcare
       providers, including clinical laboratories, and their referral sources, including
       physicians, hospitals, and other laboratories. . . . Violation of these laws may result
       in criminal penalties, exclusion from participation in the Medicare, Medicaid, and
       other federal healthcare programs, repayment of all reimbursement received by us
       related to services tied to any impermissible referrals, and significant civil monetary
       penalties . . . We seek to structure our arrangements with physicians and other
       clients to be in compliance with the federal AKS, Stark Law and similar state laws,
       and to keep up-to-date on developments concerning their application by various
       means . . .

       32.    On April 28, 2020, NeoGenomics held a conference call to discuss the Company’s

first-quarter 2020 financial results (the “1Q20 Earnings Call”). During the 1Q20 Earnings Call,

Defendant McKenzie stated: “Prior to the impacts of COVID-19, we were once again seeing

growth across all testing modalities, with particular strength in next-generation sequencing and

molecular testing.”

       33.    On April 29, 2020, NeoGenomics filed its first-quarter 2020 Form 10-Q with the

SEC (the “1Q20 10-Q”), which contained nearly identical statements to those referenced in ¶¶ 28-

30 supra, touting the Company’s testing capabilities and competitive strengths.




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       34.     On May 28, 2020, NeoGenomics held its Annual Shareholders Meeting. During

the meeting, Defendant VanOort stated, “we compete . . . by being a one-stop shop. So for an

oncology practice or for a hospital system, they can use NeoGenomics to do all of their testing,

not just next-generation sequencing, but also immunohistochemistry testing, fish testing, flow

cytometry and everything else.”

       35.     On July 28, 2020, NeoGenomics held a conference call to discuss the Company’s

second-quarter 2020 financial results (the “2Q20 Earnings Call”). During the 2Q20 Earnings Call,

Defendant VanOort stated: “We now have a full suite of liquid biopsy tests, which further

strengthens our next-generation sequencing product portfolio and solidifies our comprehensive

oncology test menu.”

       36.     On July 31, 2020, NeoGenomics filed its second-quarter 2020 Form 10-Q with the

SEC, which contained nearly identical statements to those referenced in ¶¶ 28-30 supra, touting

the Company’s testing capabilities and competitive strengths.

       37.     On September 14, 2020, NeoGenomics participated in the Morgan Stanley Global

Healthcare Conference. During the conference, Defendant VanOort stated, “we are a one-stop

shop for clients, physicians, pathologists, hospitals and pharmaceutical companies. We use every

kind of testing modality that you can use for cancer, including some of the fast-growing new ones,

like next-generation sequencing, but we do everything. So we’re a one-stop shop.”

       38.     On October 27, 2020, NeoGenomics held a conference call to discuss the

Company’s third-quarter 2020 financial results (the “3Q20 Earnings Call”). During the 3Q20

Earnings Call, Defendant McKenzie stated, “gross margins improved approximately 1,100 basis

points sequentially to 43%, reflecting a strong recovery in both clinical and pharma revenues on

largely fixed COGS infrastructure.”




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       39.     On October 29, 2020, NeoGenomics filed its third-quarter 2020 Form 10-Q with

the SEC, which contained nearly identical statements to those referenced in ¶¶ 28-30 supra, touting

the Company’s testing capabilities and competitive strengths.

       40.     On January 11, 2021, NeoGenomics participated in the JPMorgan Healthcare

Conference. During the conference, Defendant VanOort stated:

       NGS is a technology that allows us to interrogate a number of genes all
       simultaneously. And there are a lot of different applications for next-generation
       sequencing. There are small panels and large panels and targeted panels, DNA
       panels and RNA panels and some with both DNA and RNA. We can use next-
       generation sequencing for tissue samples or for circulating tumor samples, also
       referred to as liquid biopsy, and more. And consistent with NeoGenomics’
       comprehensive approach to our test menu, we also offer a wide variety of and range
       of next-generation sequencing tests. And this is one of the things that differentiates
       NeoGenomics. And we believe that we have a very high quality capability to meet
       the needs of nearly any client . . .

       41.     On February 24, 2021, NeoGenomics held a conference call to discuss its fourth-

quarter and full year 2020 financial results (the “4Q20 Earnings Call”). During the 4Q20 Earnings

Call, Defendant McKenzie stated, “gross margins improved approximately 250 basis points

sequentially in the fourth quarter to 45.6%, reflecting a continued recovery in both Clinical and

Pharma revenues on a largely fixed cost COGS infrastructure.”

       42.     On February 25, 2021, NeoGenomics filed its annual report for 2020 on Form 10-

K with the SEC (the “2020 10-K”). The 2020 10-K contained nearly identical statements to those

referenced in ¶¶ 28-30 supra, touting the Company’s testing capabilities and competitive strengths.

The 2020 10-K also contained substantially the same statements identified in ¶ 31, supra, touting

the Company’s efforts to comply with relevant regulations and merely listing failure to comply

with such regulations as a risk, without discussing the ongoing violations.

       43.     On May 27, 2021, NeoGenomics held its Annual Shareholders Meeting. During

the meeting, Defendant Mallon told investors: “Another core strength is the breadth of our Test



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Menu. We cover all of the key modalities in cancer testing. As I mentioned, over 700 tests and

this includes the fastest growing, which is the molecular test, where we bring – have a unique

position, where we actually try to customize the types of molecular tests, the panels, the number

of mutations to be tested and not just molecular, but also adding in the necessary additional

modalities to really get the most precise, customized, cost-effective solution for a particular cancer

or a particular patient.”

        44.      On June 9, 2021, NeoGenomics participated in the Goldman Sachs Global

Healthcare Conference. During Defendant VanOort’s prepared remarks, he stated, “we have the

most comprehensive test menu that anyone has for oncology out there” and “[o]ne of the things

that is quite unique and a competitive advantage is we are a go-to reference lab with a

comprehensive menu for just about any kind of tests that you want to have done in cancer. . . . And

so we have been a go-to one-stop shop reference lab for a lot of players in the ecosystem, and we

keep our test menu very advanced. And it’s a real advantage for us.” Later during the conference,

Defendant VanOort stated, “next-generation sequencing has a lot of different kinds of – it’s not

just one flavor. I mean you can do next-generation sequencing for solid tumors. You can do it for

hematologic cancers. You can do it for targeted profiles, large profiles, DNA, RNA, it’s all kinds

of stuff, various aspects. You can also do now liquid biopsy next-generation sequencing. And

effectively, we do it all.”

        45.      On August 6, 2021, NeoGenomics held a conference call to discuss its second-

quarter 2021 financial results (the “2Q21 Earnings Call”). On the 2Q21 Earnings Call, Defendant

Mallon stated:

        I’ve been very impressed by several strengths of Neo in my first 100 days on the
        job. First, it’s just how comprehensive our oncology platform at NeoGenomics
        truly is. As I have dug in, I see how our broad portfolio of services provides a value
        proposition to all the constituents of the oncology ecosystem, providers, . . . payers



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       and of course, patients. Our portfolio of multi-modality solutions is comprised of
       hundreds of assays that provide time-sensitive biomarker-specific answers for
       oncologists, pathologists, research scientists and pharma trial teams. Our
       customized targeted panels allow us to provide the right information at the right
       time for providers to patients at the right price for our direct bill and third-party
       payers. And that broad-based menu that differentiates [us] in clinical is also great
       value to our biopharma customers and is a real driver of growth for us.

       46.     Also on the 2Q21 Earnings Call, Defendant McKenzie stated, “our gross margins

improved to 44.1% in quarter 2, driven by efficiencies on increased volume in clinical and higher

revenue in our Pharma Services division. More consistent sample volumes allow for more

predictable staffing levels, and we were able to see more normalized leverage on our largely fixed

cost COGS infrastructure.”

       47.     On August 9, 2021, NeoGenomics filed its second-quarter 2021 Form 10-Q with

the SEC, which contained nearly identical statements to those referenced in ¶¶ 28-30 supra, touting

the Company’s testing capabilities and competitive strengths.

       48.     On November 4, 2021, NeoGenomics held a conference call to discuss its third-

quarter 2021 financial results (the “3Q21 Earnings Call”). During the 3Q21 Earnings Call,

Defendant Mallon stated:

       We often hear NeoGenomics referred to as a fast follower. In fact, we have often
       used that term to describe our strategy for adopting new technologies. We’ve been
       able to execute this fast follower strategy because we have the scientific and
       medical know-how to quickly develop and launch new and often improved lab-
       developed tests, and because we have a trusted relationship with thousands of
       physicians who are already ordering a significant portion of their cancer testing
       from us.

       49.     On November 4, 2021, NeoGenomics filed its third-quarter 2021 Form 10-Q with

the SEC (the “3Q21 10-Q”), which contained nearly identical statements to those referenced in ¶¶

28-30 supra, touting the Company’s testing capabilities and competitive strengths.

       50.     On February 23, 2022, NeoGenomics held a conference call to discuss its fourth-

quarter and full-year 2021 financial results (the “4Q21 Earnings Call”). During the 4Q21 Earnings


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Call, Defendant Mallon stated: “We’ve continued to strengthen our leadership position in the

market through our comprehensive menu of tests focused only on cancer, our exceptional service

levels, our managed care and hospital relationships and our overall partnership approach. These

critical differentiating factors support new growth and drive high levels of customer retention.”

       51.     On the 4Q21 Earnings Call, an analyst asked how NeoGenomics planned to

improve its gross margins. In response, Defendant Bonello stated: “A big part of it will be leverage

of the existing fixed cost structure as revenue rebounds, and we emerge out of the COVID

environment. And as we have a larger sales force that is hopefully generating revenue across that

fixed COGS structure as well.”

       52.     On February 25, 2022, NeoGenomics filed its annual report for 2021 on Form 10-

K with the SEC (the “2021 10-K”). The 2021 10-K contained nearly identical statements to those

referenced in ¶¶ 28, 30 supra, touting the Company’s testing capabilities and competitive

strengths.

       53.     On March 7, 2022, NeoGenomics participated in a Raymond James Institutional

Investors Conference. During the conference, Defendant Bonello stated: “We believe that the

underlying market that we serve is – grows at maybe a 6% to 8% rate. And from a volume

standpoint, we’ve grown about twice that fast, obviously through taking market share, combination

of getting more testing from our existing clients as well as continuously adding new clients.” Later

on the call, Bonello also stated: “Our molecular testing has fallen down in the low single digits

range of growth, and part of that is because people are ordering panels. Still ordering from us, but

ordering the panels instead of ordering the single-gene PCR test.”

       54.     The statements referenced in ¶¶ 27-53 were materially false and misleading

because: (i) NeoGenomics was anything but a “one-stop shop” for cancer testing because it did




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not offer the most technologically advanced NGS tests, which led to a significant decrease in

revenue as current and prospective customers went elsewhere for their testing needs; (ii) the

Company’s costs were not fixed because NeoGenomics needed to hire additional employees to

process more complex customized testing demanded by customers utilizing the Company’s

outdated portfolio of tests, leading to operational challenges, decreased lab efficiency, and

increased testing turnaround times; and (iii) NeoGenomics violated federal healthcare laws and

regulations related to fraud, waste, and abuse.

                                      The Truth is Revealed

       55.     On November 4, 2021, during the Company’s 3Q21 Earnings Call, Defendant

McKenzie revealed that: “We are voluntarily conducting an internal investigation with the

assistance of outside counsel that focuses on the compliance of certain consulting and service

agreements with federal healthcare laws and regulations.” She added that, “[b]ased on preliminary

findings of this internal investigation, we voluntarily notified the Office of the Inspector General

of the U.S. Department of Health and Human Services of our investigation in November 2021.

Though our review of this matter is ongoing, we have accrued a reserve of $10.5 million for

potential damage and liabilities associated with the federal healthcare program revenue received

spanning multiple years in connection with the agreements at issue that were identified during the

course of this internal investigation.”

       56.     On this news, the price of NeoGenomics common stock fell $8.18 per share, or

17.6%, from $46.53 per share on November 3, 2021 to $38.35 per share at the close of trading on

November 4, 2021.




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       57.     NeoGenomics’s 3Q21 10-Q, which the Company filed with the SEC after the close

of trading on November 4, 2021, provided a more fulsome disclosure regarding the internal

investigation and referral to the Department of Health and Human Services. Specifically:

       With the assistance of outside counsel, the Company is voluntarily conducting an
       internal investigation that focuses on the compliance of certain consulting and
       service agreements with federal healthcare laws and regulations, including those
       relating to fraud, waste and abuse. Based on this internal investigation, the
       Company voluntarily notified the Office of Inspector General of the U.S.
       Department of Health and Human Services (‘OIG’) of the Company’s internal
       investigation in November 2021. The Company’s review of this matter is ongoing.
       As of September 30, 2021, the Company has accrued a reserve of $10.5 million in
       other long-term liabilities on the Consolidated Balance Sheets for potential
       damages and liabilities primarily associated with the federal healthcare program
       revenue received by the Company in connection with the agreements at issue that
       were identified during the course of this internal investigation. This reserve reflects
       management’s best estimate of the minimum probable loss associated with this
       matter. As a result of the ongoing investigation and interactions with regulatory
       authorities, the Company may accrue additional reserves for any related potential
       damages and liabilities arising out of this matter.

       58.     On March 28, 2022, NeoGenomics filed a Current Report on Form 8-K with the

SEC (the “March 28, 2022 8-K”), disclosing that “the Board of Directors and Mark Mallon, Chief

Executive Officer, have agreed that Mr. Mallon will step down as CEO and member of the Board,

effective immediately.” Also in the March 28, 2022 8-K, NeoGenomics disclosed that: “The

Company currently expects revenue for Q1 2022 may be below the low end of its prior guidance

of $118 - $120 million and EBITDA for Q1 2022 will be below the low end of its prior guidance

of $(15) - $(12) million. The larger than anticipated EBITDA loss was primarily driven by higher

than anticipated Clinical Services cost of goods sold. The Company intends to take immediate

action to address performance and costs . . . Additionally, the Company has withdrawn its 2022

annual financial guidance issued February 23, 2022.” On this news, the price of NeoGenomics

common stock fell $5.30 per share, or 29.8%, from $17.79 per share on March 28, 2022 to $12.49

per share at the close of trading on March 29, 2022.



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       59.     Before the start of trading on April 27, 2022, NeoGenomics filed a Current Report

on Form 8-K with the SEC disclosing the Company’s first-quarter 2022 financial results (the

“April 27, 2022 8-K”). In the April 27, 2022 8-K, NeoGenomics revealed that revenue for the

quarter was $117 million and EBITDA loss was $19 million. In the April 27, 2022 8-K, the

Company further revealed that: “Consolidated gross profit for the first quarter of 2022” had

“decrease[d] 8.0% compared to the first quarter of 2021” in part due to “higher payroll and payroll-

related costs.” NeoGenomics also revealed that: “Operating expenses increased by $34 million,

or 59%, compared to the first quarter of 2021” driven, in part, by “higher payroll and payroll-

related costs to support the Company’s strategic growth initiatives.”

       60.     Also on April 27, 2022, NeoGenomics held its 1Q22 Earnings Call. During the

call, NeoGenomics discussed the factors underlying the Company’s poor performance and the

actions it was taking to improve performance and return to profitable growth.

       61.     Defendant Bonello stated: “Our volume growth is being impacted by a couple of

factors. First, our test mix is weighted to legacy modalities and disease-specific NGS offerings,

while the market is moving towards larger, more comprehensive panels. Second, operational

challenges have made it difficult to add new business at our historical rates. We are taking a

number of steps to upgrade our NGS product offering and improve our lab operations.” Bonello

further stated, “we are seeing some increased competition on the NGS front as panels move or as

customers move to demanding larger, more comprehensive NGS-only panels, and our offering is

more oriented towards smaller targeted panels.”

       62.     Also on the call, Bonello stated, “we’ve seen a notable decrease in lab efficiency

over the course of the past year. This decrease is largely attributable to increased complexity of

both our product offerings and our lab processes, due in part to efforts to respond to customer




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requests for customization. We are already taking action to reduce this complexity. These actions

include eliminating low-margin services, streamlining our NGS processes to drive reductions in

labor, supplies and bioinformatics costs, while simultaneously improving turnaround time and

implementing AI to increase lab tech productivity.” Summarizing, Bonello further stated: “We

view 2022 as a rebuilding year, where our primary focus is to improve our current product offering,

drive operational efficiency, . . . and lay a foundation to support sustainable, profitable growth in

2023 and beyond.” On this news, the price of NeoGenomics common stock fell $0.41 per share,

or 3.8%, from $10.85 per share on April 26, 2022 to $10.44 per share at the close of trading on

April 27, 2022.

       63.     Finally, on May 12, 2022, NeoGenomics participated in the Bank of America

Healthcare Conference. During the conference, Defendant Bonello revealed that, “over the past

couple of years, we’ve seen perhaps a more pronounced transition to adoption of larger complete

genomic profile NGS panels, then maybe the pace we had anticipated.”               Also during the

conference, he added: “We’re in the process of developing our own NGS only [test] rather than

multimodality panels that are also complete genomic profiling and sort of more on par with what

are in some of the competitive panels as well as improving our turnaround times.”

       64.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of NeoGenomics securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                       LOSS CAUSATION

       65.     During the Class Period, as detailed herein, the Defendants made materially false

and misleading statements and omissions, and engaged in a scheme to deceive the market in

violation of the Exchange Act. This artificially inflated the price of NeoGenomics securities and




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operated as a fraud or deceit on the Class. Later, when Defendants’ prior misrepresentations and

fraudulent conduct were disclosed to the market on November 4, 2021, March 28, 2022, and April

27, 2022, as alleged herein, the price of NeoGenomics securities fell precipitously, as the prior

artificial inflation came out of the price. As a result of their purchases of NeoGenomics securities

during the Class Period, Plaintiff and other members of the Class suffered economic loss, i.e.,

damages.

                                CLASS ACTION ALLEGATIONS

        66.      Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons who purchased or otherwise acquired NeoGenomics

publicly traded securities during the Class Period (the “Class”). Excluded from the Class are

Defendants and their families, directors, and officers of NeoGenomics and their families and

affiliates.

        67.      The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. As of May 9, 2022, there were more than 123.6 million shares of

NeoGenomics common stock outstanding, owned by at least thousands of investors.

        68.      There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

              A. Whether Defendants violated the Exchange Act;

              B. Whether Defendants omitted and/or misrepresented material facts;




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             C. Whether Defendants’ statements omitted material facts necessary in order to make

                the statements made, in light of the circumstances under which they were made, not

                misleading;

             D. Whether Defendants knew or recklessly disregarded that their statements and/or

                omissions were false and misleading;

             E. Whether the price of NeoGenomics securities was artificially inflated;

             F. Whether Defendants’ conduct caused the members of the Class to sustain damages;

                and

             G. The extent of damage sustained by Class members and the appropriate measure of

                damages.

       69.      Plaintiff’s claims are typical of those of the Class because Plaintiff and the Class

sustained damages from Defendants’ wrongful conduct.

       70.      Plaintiff will adequately protect the interests of the Class and has retained counsel

experienced in class action securities litigation. Plaintiff has no interests which conflict with those

of the Class.

       71.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                   INAPPLICABILITY OF STATUTORY SAFE HARBOR

       72.      NeoGenomics’s “Safe Harbor” warnings accompanying its forward-looking

statements issued during the Class Period were ineffective and inapplicable and cannot shield the

statements at issue from liability.

       73.      Defendants are also liable for any false or misleading forward-looking statements

pleaded herein because, at the time each such statement was made, the speaker knew the statement




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was false or misleading and the statement was made by or authorized and/or approved by an

executive officer of NeoGenomics who knew that the statement was false.

                               PRESUMPTION OF RELIANCE

       74.      At all relevant times, the market for NeoGenomics securities was an efficient

market for the following reasons, among others:

             A. NeoGenomics shares met the requirements for listing, and were listed and actively

                traded on the NASDAQ, a highly efficient and automated market;

             B. As a regulated issuer, NeoGenomics filed periodic public reports with the SEC;

             C. NeoGenomics regularly and publicly communicated with investors via established

                market communication mechanisms, including through regular disseminations of

                press releases on the national circuits of major newswire services and through other

                wide-ranging public disclosures, such as communications with the financial press

                and other similar reporting services; and

             D. NeoGenomics was followed by many securities analysts employed by major

                brokerage firms who wrote reports which were distributed to the sales force and

                certain customers of their respective brokerage firms. Each of these reports was

                publicly available and entered the public marketplace.

       75.      As a result of the foregoing, the market for NeoGenomics securities promptly

digested current information regarding NeoGenomics from all publicly available sources and

reflected such information in the price.         Under these circumstances, all purchasers of

NeoGenomics securities during the Class Period suffered similar injury through their purchase of

NeoGenomics securities at artificially inflated prices and the presumption of reliance applies.




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        76.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’ claims are grounded on Defendants’ material omissions.

                                             COUNT I

For Violation of Section 10(b) of the Exchange Act and Rule 10b-5 Against All Defendants

        77.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        78.     During the Class Period, Defendants carried out a plan, scheme, and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase NeoGenomics securities at artificially inflated prices.

        79.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for NeoGenomics securities in violation of Section 10(b)

of the Exchange Act and Rule 10b-5 promulgated thereunder.

        80.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal that: (i) NeoGenomics’s was not a “one-stop shop” for

cancer testing which led to a significant decrease in revenue as current and prospective customers

went elsewhere for their testing needs; (ii) the Company’s costs were not fixed because

NeoGenomics needed to hire additional employees to process more complex customized testing

demanded by customers utilizing the Company’s outdated portfolio of tests, leading to operational


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challenges, decreased lab efficiency, and increased testing turnaround times; and (iii)

NeoGenomics violated federal healthcare laws and regulations related to fraud, waste, and abuse.

        81.     During the Class Period, Defendants made the false statements specified above

which they knew or recklessly disregarded to be false or misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

        82.     Defendants had actual knowledge of the misrepresentations and omissions of

material fact set forth herein, or recklessly disregarded the true facts that were available to them.

Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose of concealing NeoGenomics’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities.

        83.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for NeoGenomics securities. Plaintiff and the Class

would not have purchased the Company’s securities at the prices they paid, or at all, had they been

aware that the market prices had been artificially inflated by Defendants’ fraudulent course of

conduct.

        84.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases of the

Company’s securities during the Class Period.

        85.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.




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                                             COUNT II

   For Violation of Section 20(a) of the Exchange Act Against the Individual Defendants

        86.      Plaintiff repeats, incorporates, and re-alleges each and every allegation set forth

above as if fully set forth herein.

        87.      Defendants VanOort, McKenzie, Mallon, and Bonello acted as controlling persons

of NeoGenomics within the meaning of Section 20(a) of the Exchange Act as alleged herein. By

virtue of their high-level positions, participation in and/or awareness of the Company’s operations,

direct involvement in the day-to day operations of the Company, and/or intimate knowledge of the

Company’s actual performance, and their power to control public statements about NeoGenomics,

the Individual Defendants had the power and ability to control the actions of NeoGenomics and its

employees.

        88.      By reason of such conduct, the Defendants named in this Count are liable pursuant

to Section 20(a) of the Exchange Act.

                                      PRAYER FOR RELIEF

        89.      WHEREFORE, Plaintiff prays for judgment as follows:

              A. Determining that this action is a proper class action under Rule 23 of the Federal

                 Rules of Civil Procedure;

              B. Awarding compensatory damages in favor of Plaintiff and other Class members

                 against all Defendants, jointly and severally, for all damages sustained as a result

                 of Defendants’ wrongdoing, in an amount to be proven at trial, including interest

                 thereon;

              C. Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

                 this action, including attorneys’ fees and expert fees; and




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            D. Awarding such equitable/injunctive or other further relief as the Court may deem

               just and proper.

                                        JURY DEMAND

      90.      Plaintiff demands a jury trial.

Dated: December 6, 2022                                 Respectfully submitted,

                                                        /s/ Javier Bleichmar
                                                        Javier Bleichmar
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                                                        Goldenberg

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                                                        ds@classlawgroup.com

                                                        Counsel for Plaintiff Daniel Goldenberg




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                                                     CERTIFICATION




           I, Daniel Goldenberg, hereby certify as follows:


               1.           I have reviewed the Complaint against NeoGenomics, Inc. (“NeoGenomics”),

                    Douglas VanOort, Mark Mallon, Kathryn McKenzie, and William Bonello alleging

                    violations of the federal securities laws and have authorized its filing.

               2.           I did not purchase or sell securities of NeoGenomics at the direction of counsel

                    or in order to participate in any private action under the federal securities laws.

               3.           I am willing to serve as a representative party on behalf of the Class in this

                    matter, including providing testimony at deposition and trial, if necessary.

               4.           My transactions in the NeoGenomics securities that are the subject of this

                    litigation during the Class Period are reflected in Schedule A, attached hereto.

               5.           I have not sought to serve as a representative party in a class action filed under

                    the federal securities laws in the last three years.

               6.           Beyond my pro rata share of any recovery, I will not accept payment for serving

                    as lead plaintiff on behalf of the Class, except the reimbursement of such reasonable

                    costs and expenses including lost wages as ordered or approved by the Court.


           I declare under penalty of perjury, under the laws of the United States, that the foregoing is true
                            2
           and correct this _____ day of December 2022.




                                                                     ____________________________
                                                                        ____________________
                                                                     Daniel
                                                                        iel Goldenberg




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                                              SCHEDULE A
                                            TRANSACTIONS IN
                                           NEOGENOMICS, INC.

                    Transaction Type Trade Date Shares Price Per Share    Cost/Proceeds
                        Purchase     03/08/2022   200.00          18.10       ($3,620.00)
                        Purchase     03/08/2022   300.00          17.98       ($5,394.00)
                        Purchase     03/08/2022   300.00          18.02       ($5,406.00)
                        Purchase     03/08/2022   300.00          18.17       ($5,451.00)
                        Purchase     03/08/2022   435.00          17.98       ($7,821.30)
                        Purchase     03/08/2022   700.00          18.07      ($12,649.00)
                        Purchase     03/08/2022   925.00          18.19      ($16,825.10)
                        Purchase     03/08/2022 1,402.00          18.00      ($25,236.00)
                        Purchase     03/08/2022 1,740.00          18.05      ($31,407.00)
                        Purchase     03/08/2022 1,909.00          18.06      ($34,476.54)
                        Purchase     03/08/2022 3,507.00          18.01      ($63,161.07)
                        Purchase     03/08/2022 6,717.00          18.08     ($121,443.36)




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